Case 1:03-cv-01168-.]DT-STA Document 9 Filed 08/22/05 Page 1 of 2 Page|D 6

”T/ie§‘n h c/

United States District Court€[5a
WESTERN DISTRICT oF TENNESSEE “"-'
Eastern Division

 

LAFAYETTE MlLLER JUDGMENT lN A C|VIL CASE

V.

DONAL CAMPBELL, et a]. CASE NU|VIBER: 03-‘| 168-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

lT lS ORDERED AND ADJUDGED that in compliance With the order entered in
the above-styled matter on ti / &/05 this case is hereby D|SIV|ISSED without prejudice
for failure to prosecute.

APPROVED:

®ww»b -Q»FM

JAM D. TODD
UNIT D STATES DISTRICT JUDGE

THOMAS M. GOULD

 

 

CLERK
%laalos BY: C ethical
DATE l l DEPUTY CLERK

This document entered on the docket sheet in compliance

with Ru|e 58 and/or 79(a) FRCP on §§ZQ ['}l 0 3 .

   
 
 
 

 
 

UNITS,ED`TATES DISTRICT C URT - WESTENR D"ISRICT oF TNNESSEE

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This notice confirms a copy of the document docketed as number 9 in
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Lafayette Miller
RMSI-NASHVILLE

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Nashville, TN 37209--104

Honorable J ames Todd
US DISTRICT COURT

